B 210A (Form 210A) (12/)



                         UNITED STATES BANKRUPTCY COURT
                                                Middle District
                                            __________ DistrictofOf
                                                                  Tennessee
                                                                    __________

In re ________________________________,
      Leonard C. and Jessica A. Smith                                                             Case No. ________________
                                                                                                            18-02274 CW3




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



  THDA d/b/a Volunteer Mortgage Loan Svg
______________________________________                                       US Bank Home Mortgage for THDA
                                                                            ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):     16
should be sent:                                                             Amount of Claim:      $194,030.84
  c/o TN Atty General's Office, Bankruptcy                                  Date Claim Filed:      06/08/2018
  PO Box 20207, Nashville, TN 37202-0207

         (615)532-8930
Phone: ______________________________                                       Phone:
Last Four Digits of Acct #: ______________
                                  352                                       Last Four Digits of Acct. #: __________
                                                                                                             726

Name and Address where transferee payments
should be sent (if different from above):
  404 James Robertson Pkwy, Suite 1450
  Nashville, TN 37219

Phone: (844) 865-7378
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________
    /s/ William McCormick                                                   Date:____________________________
                                                                                  07/24/2018
        Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.




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